        Case 3:22-cv-00178-SDD-SDJ            Document 235       02/12/24 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA

 DR. DOROTHY NAIRNE, REV. CLEE
 EARNEST LOWE, DR. ALICE
 WASHINGTON, STEVEN HARRIS, BLACK
 VOTERS MATTER CAPACITY BUILDING
 INSTITUTE, and THE LOUISIANA STATE
 CONFERENCE OF THE NAACP,

                               Plaintiffs,             Civil Action No. 3:22-cv-00178
                                                       SDD-SDJ
 v.

 NANCY LANDRY, in her official capacity as
 Secretary of State of Louisiana,

                               Defendant.


      PLAINTIFFS’ MOTION TO SET SCHEDULE FOR REMEDIAL PROCEEDINGS

        Pursuant to Local Civil Rule 7 and the Court’s February 8, 2023 Order, Plaintiffs—Dr.

Dorothy Nairne, Rev. Clee Earnest Lowe, Dr. Alice Washington, Steven Harris, Black Voters

Matter Capacity Building Institute, and Louisiana State Conference of the NAACP—respectfully

move this Court to enter the proposed scheduling order attached as Exhibit 1 as the schedule for

the remedial phase of this case. Plaintiffs’ proposed schedule provides the state with a reasonable

period of time to pass new maps, while moving at a pace that is expeditious enough to facilitate

special elections in the new state legislative districts in November 2024. Plaintiffs’ memorandum

in support of this motion and Plaintiffs’ proposed scheduling order are attached.


Date: February 12, 2024                          Respectfully submitted,


                                                 /s/ Megan C. Keenan               .
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Victoria Wenger (admitted pro hac vice)          American Civil Liberties Union Foundation
       Case 3:22-cv-00178-SDD-SDJ          Document 235        02/12/24 Page 2 of 2




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